                      UNITED STATES DISTRICT COURT
         IN THE WESTERN DISTRICT OF MICHIGAN — SOUTHERN DIVISION


JULIE ALBERTS,
Individually and on behalf of others similarly situated,
       Plaintiff,


 -vs-                                                Case No.
                                                     Hon.
                                                     CLASS ACTION COMPLAINT
CITIZENS DISABILITY, LLC,
      Defendant

                              COMPLAINT & JURY DEMAND

        Plaintiff Julie Alberts brings this class action complaint against Defendant Citizens

Disability, LLC (“Citizens Disability”) to stop Defendant’s illegal practice of sending unsolicited

text message calls to the cellular telephones of consumers and to obtain redress for all persons

injured by their conduct.

                                           Jurisdiction

1.      This Court has federal question jurisdiction under the Telephone Consumer Protection Act

        (“TCPA”), 47 U.S.C. § 227 et seq., and 28 U.S.C. §§ 1331, 1337.



                                              Parties

2.      The Plaintiff to this lawsuit is Julie Alberts (“Ms. Alberts”) who resides in Lowell,

        Michigan, 49331.

3.      The Defendant to this lawsuit is Citizens Disability, LLC, a limited liability company

        organized in and existing under the laws of the State of Massachusetts with its principal

        place of business located at 1075 Main Street, 4th Floor, Waltham, MA 02451.

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4.   Citizens Disability operates the website http://www.citizensdisability.com.

                                            Venue

5.   The transactions and occurrences which give rise to this action occurred in Kent County,

     Michigan.

6.   Venue is proper in the Western District of Michigan as the conduct and events giving rise

     to Plaintiff’s claims arose in substantial part in this District. Furthermore, a substantial

     amount of the property affected by this claim, the Plaintiff’s cellular telephone, is in this

     District.

7.   Defendant sent multiple unsolicited text messages to Plaintiff in Michigan on her cellular

     phone with a Michigan area code.

                   Auto-Dialed Text Message Calls Violate the TCPA

8.   In 1991, Congress enacted the TCPA, 47 U.S.C. § 227, to regulate the explosive growth of

     the telemarketing industry. In so doing, Congress recognized that unrestricted

     telemarketing . . . can be an intrusive invasion of privacy . . . 47 U.S.C. § 227,

     Congressional Statement of Findings #5.       Specifically, in enacting the TCPA, Congress

     outlawed telemarketing via unsolicited automated or pre-recorded telephone calls, finding:

             Evidence compiled by the Congress indicates that residential telephone
             subscribers consider automated or prerecorded telephone calls, regardless
             of the content or the initiator of the message, to be a nuisance and an
             invasion of privacy. Banning such automated or prerecorded telephone calls
             to the home, except when the receiving party consents to receiving the call
             . . . is the only effective means of protecting telephone consumers from this
             nuisance and privacy invasion.

     47 U.S.C. § 227, Congressional Statement of Findings ## 10 and 12.

9.   Thus, the TCPA prohibits the placement of calls to cell phones using an automated


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      telephone dialing system without the prior express consent of the called party.   47 U.S.C.

      § 227(b)(1)(A)(iii).

10.   A text message is a “call” within the meaning of the TCPA.          Satterfield v. Simon &

      Schuster, Inc., 569 F.3d 946 (9th Cir. 2009). Cited by, Nunes v. Twitter, Inc., 194 F Supp

      3d 959, 961-62 (ND Cal 2016).

11.   Text messages to cellular devices can be intrusive, costly and are in violation of the TCPA,

      as noted in the Federal Communications Commission Consumer Bulletin, Avoiding Spam:

      Unwanted Email and Text Messages: (Exhibit 2 – Avoiding Spam: Unwanted Email and

      Text Messages.)

12.   According to the Federal Trade Commission’s recent Biennial Report to Congress, the

      emergence of new communication technologies has caused the number of illegal

      telemarketing calls to explode in the last four years.    For example, VOIP technology

      allows callers to make a higher volume of calls inexpensively from anywhere in the world.

      Telemarketers have embraced these advances, causing consumer complaints about illegal

      telemarketing to skyrocket.


13.   The Federal Communications Commission maintains a consumer guide called Stop

      Unwanted Calls and Texts finding that “unwanted calls, including robocalls and texts, are

      consistently among the top problems consumers cite when filing complaints with the FCC

      each year.” (Exhibit 3 – Stop Unwanted Calls and Texts).


14.   The Federal Trade Commission also published the following regarding the nuisance of

      unlawful phone calls and text message calls:


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             Unwanted phone calls or random text messages seem to come at all hours.
             They bug you at work, interrupt your dinner, or wake you up when you’re
             sound asleep. I think we can all agree they’re a real nuisance.
      (Exhibit 4 – Stopping unwanted phone calls and text messages).

15.   On December 2, 2016, USA Today published a story, finding that these days, “many

      companies find it cheaper, easier and more profitable to send advertisements by text.”

      (Exhibit 5 – Stop unwanted calls and texts from hitting your cellphone).

16.   Bill Schuette, the Michigan Attorney General, published the following consumer alert

      regarding spam text message calls:

             More than one billion text messages are sent everyday in the United States
             and studies show that more and more of these messages are spam, or
             unwanted, unsolicited junk mail, delivered to the consumer’s wireless
             phone text message inbox. Not only is text message spam annoying, but
             it can also slow down your phone by taking up your phone’s memory and,
             unlike spam e-mail, lead to unwanted charges on your wireless service bill.
             Many carriers will charge you simply for receiving a text message,
             regardless of whether you requested it. Additionally, if you use a smart
             phone or personal digital assistant (PDA) that functions like a personal
             computer, spam could put you at risk for viruses or “smishing,” a scam
             where consumers are directed via text message to a website that
             unknowingly collects their personal information or downloads software that
             allows the cell phone to be controlled by hackers.
      (Exhibit 6 – Cell Phone Spam Stop Receiving Unwanted Text Messages!).

17.   The FCC has explicitly included text message calls within the orbit of the statute,

      explaining that the TCPA’s prohibition on an ATDS “encompasses both voice calls and

      text calls to wireless numbers including, for example, short message service (SMS)

      calls…”    Satterfield, at 569 quoting In re Rules and Regulations Implementing the

      Telephone Consumer Protection Act of 1991, Report and Order, 18 FCC Rcd, 14014,

      14115 (July 3, 2013); reconfirmed In the Matter of Rules and Regulations Implementing

      the Controlling the Assault of Non-Solicited Pornography and Marketing Act of 2003,


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      Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, 19

      FCC Rcd. 15927, 15934 (FCC August 12, 2004).

18.   Plaintiff Julie Alberts brings this complaint against Defendant to halt Defendant’s practice

      of making unsolicited text message calls to her cellular telephone, and to obtain redress for

      all persons injured by its conduct.

19.   By making the text message calls at issue in this complaint, Defendant caused Plaintiff and

      the members of the class actual harm, including the aggravation and nuisance that

      necessarily accompanies the receipt of unsolicited text message calls, and in some cases,

      the monies paid to their wireless carriers for the receipt of such text message calls.

20.   In response to Defendant’s unlawful conduct, Plaintiff files this lawsuit and seeks an

      injunction requiring Defendant to cease all unsolicited text message calling activities and

      an award of statutory damages to the members of the class of $500-$1500 per illegal text

      message call under the TCPA, together with costs and reasonable attorneys’ fees.

                   Text Message Calls to Plaintiff and Putative Class Members

21.   Defendant purchased a list of cell phone numbers or obtained access to a list of cell phone

      numbers through a third-party vendor.

22.   Plaintiff’s cell phone number was included in that list, as well as, upon information and

      belief, numerous other residents of Michigan.

23.   Upon information and belief, Defendant purchased numerous other lists of cell phone

      numbers that included Michigan residents.

24.   Beginning in or around August 2014, Defendant and/or their authorized agents, vendors,

      or contractors, used an automatic telephone dialing system to make multiple text message


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      calls to the cellular telephone owned by Plaintiff.

25.   The body of the message Defendant sent to Plaintiff read:

             DISABILITY ALERT NOTICE! Please call 509-761-3804 for
             important information about your disability benefits application

26.   Of the multiple messages sent from or on behalf of Citizens to Ms. Alberts on her cellular

      phone, including on the following dates: August 1, 2014; August 6, 2014; and August 7,

      2014; seven or more of the messages were the same or substantially the same.

27.   Defendant texted Plaintiff from the following phone numbers: (509) 769-3240, (530) 322-

      5525, (903) 213-4098, (917) 242-4544, (814) 474-6520, (541) 991-4231, (669) 226-6062,

      (360) 799-5403, (541) 361-5152, (347) 464-0257, (954) 440-7930, (786) 619-1267, and

      (347) 826-0962.

28.   On information and belief, Defendant made, or had made on its behalf, the same (or

      substantially the same) text message call to thousands of similarly situated Michigan cell

      phone users (“putative class members”).

29.   Defendant made these text message calls to Plaintiff and putative class members using an

      automated telephone dialing system (“ATDS”), or contracted with another entity to make

      the calls using an automatic telephone dialing system.

30.   Defendants made, or had made on their behalf, these text message calls to Plaintiff and

      putative class members, using equipment that had the capacity to store or produce

      telephone numbers to be called using a random or sequential number generator, and to dial

      such numbers.

31.   On information and belief, Defendant texted thousands of consumers.

32.   On information and belief, Defendant was aware that the above described text message

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      calls were being made either by it directly, or made on its behalf.

33.   These text message calls interrupted Plaintiff’s day, both her personal time and her work

      time.

34.   These text message calls consumed storage space on her cellular phone.

35.   These text message calls caused Plaintiff to stop what she was doing, review the unwanted

      text message call, and then delete the unwanted text message call or suffer loss of storage

      on her cellular phone.

36.   These text message calls often littered her text message folder, much to her annoyance and

      frustration, and caused her to expend extra time to sift through the myriad of unwanted text

      message calls only to locate the personal text message calls she wanted to address.

37.   The putative class members suffered similar damage.

                            CLASS DEFINITION AND CLASS ISSUES

38.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth herein.

39.   Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(b)(2) and

      23(b)(3) on behalf of herself and a class (the “Class”) defined as follows:

      a.      CLASS I

                     All persons within the United States: (a) Defendant and/or a third
                     party acting on their behalf, made two or more non-emergency
                     telephone calls in a twelve-month period; (b) to their residential or
                     cellular telephone number; (c) using an automatic telephone dialing
                     system or an artificial or prerecorded voice; and (d) at any time in
                     the period that begins four years before the date of filing this
                     Complaint to trial.

40.   Numerosity: The message at issue appears in form and substance to be a pre-formatted

      message targeted to a broad market of individuals who possess cell phones.          While the


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      precise number of Class members is unknown and not available to Plaintiff at this time,

      these known facts facially support the conclusion that individual joinder is impracticable.

      Class members can be identified through Defendants’ records and those of cell phone

      carriers through whom the texts were delivered. On information and belief, Defendants

      have made text message calls to thousands of consumers who fall into the definition of the

      Class.

41.   Typicality: Plaintiff’s claims are typical of the claims of other members of the Class, in

      that Plaintiff and the Class members sustained damages arising out of Defendant’s uniform

      wrongful conduct and unsolicited text message calls.

42.   Adequate Representation: Plaintiff will fairly and adequately represent and protect the

      interests of the Class and has retained counsel competent and experienced in class action

      litigation. Plaintiff has no interest antagonistic to those of the Class, and Defendant has

      no defenses unique to Plaintiff.

43.   Commonality and Predominance: There are many questions of law and fact common to

      the claims of Plaintiff and the Class, and those questions predominate over any questions

      that may affect individual members of the Class.         Common questions for the Class

      include, but are not necessarily limited to the following:

      a.       Whether Defendant’s conduct constitutes a violation of the TCPA;

      b.       Whether the equipment Defendant used to make the text message calls in question

               was an automatic dialing system as contemplated by the TCPA;

      c.       Whether Defendant systematically made text message calls to persons who did not

               previously provide Defendant with their prior express consent to receive such text


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             message calls;

      d.     Whether Class members are entitled to treble damages based on the willfulness of

             Defendant’s conduct.

44.   Superiority: This case is also appropriate for class certification because class proceedings

      are superior to all other available methods for the fair and efficient adjudication of this

      controversy because joinder of all parties is impracticable. The damages suffered by the

      individual members of the Class will likely be relatively small, especially in comparison

      to the burden and expense of individual prosecution of the complex litigation necessitated

      by Defendant’s actions.      Thus, it would be virtually impossible for the individual

      members of the Class to obtain effective relief from Defendant’s misconduct.          Even if

      members of the Class could sustain such individual litigation, it would still not be

      preferable to a class action, because individual litigation would increase the delay and

      expense to all parties due to the complex legal and factual controversies presented in this

      Complaint. By contrast, a class action presents far fewer management difficulties and

      provides the benefits of single adjudication, economy of scale, and comprehensive

      supervision by a single court.    Economies of time, effort, and expense will be fostered,

      and uniformity of decisions ensured.

                COUNT I:      Violation of the TCPA, 47 U.S.C. § 227 et seq.,
                            (On behalf of Plaintiff and the Class)

45.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth herein.

46.   Defendant made unsolicited text message calls to cellular telephone numbers belonging to

      Plaintiff and the other members of the Class en masse without their prior express consent.

47.   Defendant made the text message calls, or had them made on their behalf, using equipment

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      that had the capacity to store or produce telephone numbers to be called using a random or

      sequential number generator, and to dial such numbers.

48.   Defendant utilized equipment that made, or had made on their behalf, the text message

      calls to Plaintiff and other members of the Class simultaneously and without human

      intervention.

49.   By making, or having made on their behalf, the unsolicited text message calls to Plaintiff

      and the Class, Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) and 47 U.S.C. §227(c)(5).

      As a result of Defendant’s unlawful conduct, Plaintiff and the members of the Class

      suffered actual damages in the form of money they paid to receive the unsolicited text

      message calls on their cellular phones and are entitled to statutory damages under section

      227(b)(3)(B) and 227(c)(5) at a minimum of $500.00 in damages for each such violation

      of the TCPA.

50.   Should the Court determine that Defendants’ conduct was willful and knowing, the Court

      may, pursuant to section 227(b)(3)(C), treble the amount of statutory damages recoverable

      by Plaintiff and the other members of the Class.

                                        JURY DEMAND

      Plaintiff requests a trial by jury of all claims that can be so tried.

                                    PRAYER FOR RELIEF

51.   WHEREFORE, Plaintiff Julie Alberts, individually and on behalf of the Class, prays for

      the following relief:

52.   An order certifying the Class as defined above, appointing Plaintiff Julie Alberts as the

      representative of the Class, and appointing her counsel as Class Counsel;


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53.      An award of actual and statutory damages;

54.      An injunction requiring Defendant to cease all unsolicited text message calls, and otherwise

         protecting the interests of the Class;

55.      An award of reasonable attorneys’ fees and costs; and

56.      Such other and further relief that the Court deems reasonable and just.


                                                  Respectfully Submitted,

                                                  By: s/ Priya Bali
                                                  Priya Bali (P78337)
                                                  LYNGKLIP & ASSOCIATES
                                                  CONSUMER LAW CENTER, PLC
                                                  24500 Northwestern Hwy, Ste 206
                                                  Southfield MI 48075
                                                  (248) 208-8864
                                                  Priya@MichiganConsumerlaw.com

                                                  B. Thomas Golden (P70822)
                                                  Golden Law Offices, P.C.
                                                  2186 West Main Street
                                                  P.O. Box 9
                                                  Lowell, MI 49331
                                                  (616) 897-2900
                                                  btg@bthomasagolden.com


Dated:    April 16, 2018                          Attorneys for Plaintiff




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